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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 TERRI SMITH,

              Plaintiff

 V.

 CITY OF LAKELAND, FLORIDA and
 LAKELAND POLICE DEPARTMENT,

             Defendants
 __________________________________/

                   COMPLAINT AND DEMAND FOR JURY TRIAL
                        INJUNCTIVE RELIEF SOUGHT

 1.    Plaintiff Terri Smith, a former police sergeant in Defendants’ employ, brings this action

       pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq; the Age

       Discrimination in Employment Act (ADEA), 29 U.S.C. §623, et seq.; and the Florida

       Civil Rights Act (Fla.CRA) of 1992, Florida Statutes, Chapter 760 for relief from

       discrimination and harassment based on her sex and age, and for retaliation for her

       protected activity in opposition to such discrimination, which ended her 24-year career

       as a law enforcement officer with the Defendants.

                                          Jurisdiction

 2.    Jurisdiction of Plaintiff’s federal claims is conferred by 28 U.S.C. §§1331 and 1343(3),

       as well as 42 U.S.C. §2000e-5 (Title VII) and 29 U.S.C. § 626 (ADEA). Supplemental

       jurisdiction of Plaintiff’s state law claims is conferred by 28 U.S.C. §1367, as Plaintiff’s

       state and federal claims arise out of a common nucleus of operative fact, as more fully set
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       forth below.

                                             Parties

 3.    Plaintiff TERRI SMITH is a is a 64-year-old female American citizen and a resident of

       Lakeland, Polk County, Florida.

 4.    Defendant CITY OF LAKELAND was Plaintiffs’ employer and has its offices and

       operations in Lakeland, Polk County, Florida. Defendant is a “person” engaged in an

       industry affecting interstate commerce and having more than 15 employees at all times

       relevant to the claims herein, and as such is an “employer” within the meaning of 42

       U.S.C. §2000e(a), 29 U.S.C. §630(b) and Section 760.02, Florida Statutes.

 5.    Defendant LAKELAND POLICE DEPARTMENT was Plaintiffs’ employer and has its

       offices and operations in Lakeland, Polk County, Florida. Defendant is a “person”

       engaged in an industry affecting interstate commerce and having more than 15 employees

       at all times relevant to the claims herein, and as such is an “employer” within the meaning

       of 42 U.S.C. §2000e(a), 29 U.S.C. §630(b) and Section 760.02, Florida Statutes.

                                      Statement of Facts

 6.    Plaintiff Terri Smith (hereinafter, Smith) began employment with Defendants as a sworn

       police officer of the Lakeland Police Department (hereinafter, LPD) on April 17, 1995.

       She was promoted to the rank of Sergeant on December 29, 2002.

 7.    In 2004 she was tasked with creating and operating a new Crime Analysis Unit. After she

       did so, she was placed in charge of the unit and supervised the four employees assigned

       to it.


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 8.    In January of 2017, LPD hired a 26-year-old male, Sean Patterson, to an entry level

       position work in the Crime Analysis Unit. In that position he reported to Smith, and

       Smith assigned her most experienced Crime Analyst, Brenda Wallace, to mentor and train

       him. At the time, Wallace was over 40 years of age.

 9.    Shortly after his arrival, Patterson began to complain about his job assignments, refused

       to complete assigned tasks, and resisted efforts by Wallace and Smith to supervise him.

       He spend hours of his time away from his work station, without notifying Smith,

       complaining to male staff members, including Smith’s superior officers, Lieutenant

       Steven Sealey and Captain Hans Lehman, about Wallace and Smith.

 10.   In June of 2017 Smith asked Sealey to support her in her supervisor role by making it

       clear to Patterson that he was responsible for following her instructions and being

       accountable to her as his supervisor. Sealey met with Smith and Patterson together on

       June 2, 2017. At the meeting Patterson verbally attacked Smith, stating that he had

       complained to “higher ups” in the LPD that she was resisting needed change in the unit,

       and that the “higher ups” agreed with him. He accused Smith of “running off’ a male

       former crime analyst. Smith asked Patterson to leave the room so that she could speak

       with Lt. Sealey, but Patterson refused to do so until so instructed by Lt. Sealey.

 11.   After Patterson left the room, Smith asked Sealey why she had allowed Patterson to go

       on and had not admonished him for insubordination. Sealey responded that Smith was

       being “defensive” and he did not believe Patterson had been insubordinate, and that his

       own interactions with Patterson had been very positive, “like a father talking to his son.”


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 12.   As the supervisor of the Crime Analysis Unit, it fell to Smith to do the performance

       evaluations of her staff. On January 5, 2018, she completed Patterson’s evaluation, and

       rated his work performance ast Standard Performance, noting strengths and weaknesses,

       and identifying areas in need of improvement, including his practice of being late with

       assignments and circumventing his mentor and his supervisor. About this time she also

       completed her evaluation of Wallace, whom she gave high marks for excellent

       performance.

 13.   Shortly thereafter, Captain Lehman informed Smith that Patterson’s evaluation was too

       low, and Wallace’s too high, and that he would have to “write a memo” if she did not

       reduce Wallace’s rating. Smith responded that Wallace was an experienced, high-

       performing member of the unit and that her rating was accurate.

 14.   On January 11, 2018 Captain Lehman summoned Smith to a meeting with himself,

       Assistant Chief Mike Link, and Lieutenant Sealey. Lehman handed Smith an eight-page,

       single-spaced memorandum, which was entitled Clarification of Employee Evaluations

       by Sgt. Smith and was addressed to Sealey and Link. Smith then attempted to skim the

       the memo in the silent presence of the three male superior officers. The memo

       admonished Smith for not giving Patterson a higher evaluation, stating that there was a

       “generational conflict occurring that cannot be resolved” between Patterson and Smith,

       referring to Patterson as a “young” employee with a “refreshing” approach, while referring

       to Smith as “stuck in her ways.” It went on to state that “our young employees need


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       members that will embrace them.” Smith was intimidated but explained her actions and

       declined to change the evaluations.

 15.   Shortly thereafter, Lehman gave a copy of the memo to Patterson, thereby undermining

       any authority that Smith had over his supervision. Patterson then filed an internal

       complaint of age discrimination against Smith. When that was unsuccessful, he filed a

       Charge of Discrimination with the EEOC, but it was dismissed after investigation.

 16.   On February 7, 2018 Sealey issued Charging Party's annual performance evaluation,

       rating her at the level of 4.76 on a scale of 1.00 to 7.00, lower than she have ever been

       rated in her position and in particular lower than the previous year's rating of 6.72. The

       evaluation document made frequent references to Smioth’s allegedly overly critical

       management of Patterson.

 17.   On February 8, 2018 Smith filed with the Defendant City of Lakeland’s Human Resources

       Department a complaint of hostile work environment based on her age and gender.

       Among the perpetrators she identified in the complaint were Sealey and Lehman.

       Charging Party requested that during the pendency of the investigation, she not be

       required to report to Lt. Sealey and Captain Lehman, but that request was denied.

 18.   Sealey then began to keep a written record of Smith’s comings and goings, including her

       attendance, daily arrival and departure times, time spent at medical appointments and

       other activities. The records also included notes of Sealey’s phone calls to doctor’s

       offices to confirm times of her appointments, and of oral and written requests to LPD staff

       members to confirm that Smith had attended meetings and other events listed in her time


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       records. Next to each entry was Sealey’s notation as to the Department policy which he

       believed Smith’s conduct may have violated.

 19.   Although he remained Smith’s supervisor, he refused to speak to her after she filed the

       Human Resources complaint.

 20.   On June 28, 2018 Captain Sam Taylor, who performed the internal LPD investigation of

       Smith’s hostile work environment complaint, issued a report recommending that all of

       those named be “exonerated.”

 21.   On July 28, 2018 Sealey e-mailed his 29-page log of Smith’s activities and alleged

       offenses to 35 LPD employees, including non-supervisory employees, members of the

       Crime Analysis Unit and other employees with whom she had to work. This humiliated

       Smith and made her the subject of ridicule at the LPD.

 22.   Smith complained to LPD Chief Larry Giddens, who told her that Sealey had sent the e-

       mail attaching his notes “by mistake” and had attempted to delete it. However, members

       of her unit told Smith that they had received the e-mail but had not received any notice

       that it had been withdrawn or sent by mistake. Sealey never apologized, never claimed

       to Smith that the e-mail had been sent in error, and never discussed the matter with her

       in any way.

 23.   After this, Smith was overwhelmed with humiliation and asked Chief Giddens to assign

       her to another supervisor. Giddens refused. He told Smith she could accept a demotion

       to patrol duty or apply for any open position just like any other employee.

 24.   On July 30, 2018 Smith’s undersigned attorney wrote to Giddens, outlining the course of


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       the harassment and bullying by Sealey and others, and requesting that Smith be assigned

       to a different supervisor. When no corrective action was forthcoming, counsel wrote to

       then-City Attorney for Defendant City of Lakeland, Tim McCausland, again requesting

       that Smith be reassigned to a different chain of command.

 25.   When no corrective action was taken, Smith concluded that she could no longer tolerate

       this hostile work environment. Even though she was approaching 25 years’ service which

       would have resulted in increased pension benefits, she terminated her employment on

       October 15, 2018.

                                Malice and Reckless Disregard

 26.   In subjecting Plaintiff Smith to a hostile work environment and retaliated against her as

       described above, Defendants acted with malice and with reckless disregard for her

       federally protected rights, and her rights under state law.

                                     Count One – Title VII

 27.   Paragraphs 3-26 are incorporated by reference as if fully set forth herein.

 28.   On or about September 17, 2018 Smith filed a Charge of Discrimination with the EEOC

       against Defendant Lakeland Police Department. After investigation, the EEOC on August

       20, 2019 issued a Letter of Determination, finding reasonable cause to believe that

       Defendant subjected Smith to a hostile work environment because of her age and sex, and

       constructively discharged her because of her age and sex, and in retaliation for her

       protected activity.

 29.   After attempts at conciliation failed, the EEOC issued a Notice of Suit Rights on October


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        9, 2019.

 30.    Based on the foregoing, Defendants subjected Smith to a hostile work environment,

        discriminated against her in terms, conditions and privileges of employment and

        constructively discharged her because of her sex, and in retaliation for her protected

        activity, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§2000e-2(a)

        and 3(a).

 31.    Based on the foregoing, Defendant retaliated against Plaintiff because of her protected

        activity in opposition to discrimination, including participation in the EEOC charge-filing

        process, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e-3(a).

                WHEREFORE, Plaintiff prays that this Court enter an order:

 (a) Enjoining Defendant from discriminating in the future on the basis of an employee's sex or

 her protected activity;

 (b) Requiring Defendant to reinstate Plaintiff at the level which he would have attained absent

 discrimination;

 c) Awarding back pay and other economic damages to Plaintiff;

 (d) Awarding compensatory damages for the emotional pain, suffering and humiliation caused

 by Defendant’s acts of discrimination against Plaintiff;

 (e) Awarding Plaintiff her reasonable attorney fees and costs of this action; and

 (f) Awarding such other relief as this Court deems appropriate.

                      Count Two – Age Discrimination in Employment Act

 32.    Paragraphs 3-30 are incorporated by reference as if fully set forth herein.


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 33.    Based on the foregoing, Defendant subjected Smith to a hostile work environment,

        discriminated against her in terms, conditions and privileges of employment and

        constructively discharged her because of her age, and in retaliation for her protected

        activity, in violation of the Age Discrimination in Employment Act, 29 U.S.C. §623.

                WHEREFORE, Plaintiff prays that this Court enter an order:

 (a) Enjoining Defendant from discriminating in the future on the basis of an employee's age or

 her protected activity;

 (b) Requiring Defendant to reinstate Plaintiff at the level which he would have attained absent

 discrimination;

 c) Awarding back pay and other economic damages to Plaintiff;

 (d) Awarding compensatory damages for the emotional pain, suffering and humiliation caused

 by Defendant’s acts of discrimination against Plaintiff;

 (e) Awarding plaintiff liquidated damages for Defendant’s wilful violation of the ADEA;

 (f) Awarding Plaintiff her reasonable attorney fees and costs of this action; and

 (g) Awarding such other relief as this Court deems appropriate.

                             Count Three– Florida Civil Rights Act

 34.    Paragraphs 3-30 are incorporated by reference as if fully set forth herein.

 35.    On or about September 17, 2018 Smith filed a Charge of Discrimination with the EEOC,

        which in turn forwarded a copy of her charge, at her request, to the Florida Commission

        on Human Relations (FCHR). Plaintiff’s Charge of Discrimination has been pending with

        the FCHR for more than 180 days, but said Commission has issued no determination


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         thereon.

  36.    Based on the foregoing, Defendants subjected Smith to a hostile work environment,

         discriminated against her in terms, conditions and privileges of employment and

         constructively discharged her because of her age and sex, and in retaliation for her

         protected activity, in violation of the Fla. CRA, Sections 760.10(1)(a) and 760.10(7).

                 WHEREFORE, Plaintiff prays that this Court enter an order:

  (a) Enjoining Defendant from discriminating in the future on the basis of an employee's sex , age,

  or her protected activity;

  (b) Requiring Defendant to reinstate Plaintiff at the level which he would have attained absent

  discrimination;

  c) Awarding back pay and other economic damages to Plaintiff;

  (d) Awarding compensatory damages for the emotional pain, suffering and humiliation caused

  by Defendant’s acts of discrimination against Plaintiff;

  (e) Awarding Plaintiff her reasonable attorney fees and costs of this action; and

  (f) Awarding such other relief as this Court deems appropriate.

                                       Demand for Jury Trial

         Plaintiff hereby demands a trial by jury on all issues so triable in this action.

                                                 Respectfully submitted,



                                                 ___s/ Peter F. Helwig_________________________
                                                 Peter F. Helwig
                                                 Trial Counsel for Plaintiff


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  Dated at Lakeland, Florida this 7th day of January, 2020.




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